                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA


MIKE TOYUKAK, et al.

                      Plaintiffs,

             vs.

MEAD TREADWELL, et al.,

                      Defendants.

                                                Case No. 3:13-cv-00137-SLG


                           ORDER RE INTERIM REMEDIES

      Having reviewed the State of Alaska’s Proposal in Response to Court’s Order of

September 3, 2014, filed September 5, 2014 (Docket 224), and Plaintiffs’ Proposed

Remedies (November 2014 Election), filed September 10, 2014 (Docket 225), IT IS

ORDERED that:

      1. To the extent certain tasks relate to the upcoming 2014 General Election and

         whether or not specifically addressed in this Order, the Division of Elections

         (“Division”) shall perform each of the tasks set forth in the Division’s 2014

         Language Assistance Program Tasks list, which was admitted as an exhibit at

         trial as Exhibit CC, in the three census areas at issue in this litigation.

      2. For all oral and written translations required by this Order, for both the

         Dillingham and the Wade-Hampton census areas, the Division shall retain one

         or more Yup’ik language experts to review the translation and confirm that it is

         in a dialect that will be understood in that census area. If the dialectical

         differences for a particular translation from Central Yup’ik are minor (e.g., a few




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          words or phrases), those differences may be noted through a footnote that

          identifies the dialect and the differences. The translation for the Limited English

          Proficient (“LEP”) voters in the communities in the Yukon-Koyukuk census area

          shall be into Gwich’in.

       3. On or before September 26, 2014, the Division shall distribute a pre-election

          announcement to be read by outreach workers in Yup’ik or Gwich’in, as

          applicable, over the VHF radio stating the voter registration deadlines and the

          availability of the outreach worker to assist in the completion of voter

          registration applications.

       4. On or before September 26, 2014, the Division shall rewrite the language

          assistance instructions in the Official Election Pamphlet to explain more clearly

          that LEP voters may ask their outreach workers for pre-election help in

          translating the pamphlet.

       5. On or before September 26, 2014, the Division shall change the Certificate of

          Outreach form so that outreach workers are asked to report the number of

          hours spent assisting voters in pre-election outreach efforts and the number of

          voters the outreach worker assisted.

       6. On or before September 26, 2014, the Division shall prepare a revised cover

          letter to accompany the election materials sent to tribal councils in the three

          census areas that directly encourages each council to inform tribal members

          that it has the materials available for tribal members to review.

       7. On or before October 3, 2014, the Division shall draft, translate, and record a

          new public service announcement for local radio stations in the three census


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          areas at issue in this litigation to notify voters (1) that outreach worker(s) are

          available to provide language assistance before the election and (2) that

          bilingual poll workers will be available to assist voters on Election Day. This

          public service announcement shall also instruct voters that they can call the

          Yup’ik assistance hotline for general language assistance and identify the

          name, location, and telephone number of their local in-person outreach

          worker(s).

       8. On or before October 3, 2014, the Division shall draft and translate a written

          version of a public service announcement that contains the same information

          described in paragraph 7 above, for outreach workers to broadcast over VHF

          in their communities.

       9. On or before October 3, 2014, the Division shall also distribute the following

          translated pre-election announcements to be read by outreach workers over

          the VHF radio that include the following information:

              a. absentee ballot application deadlines and the availability of the outreach

                  worker to assist in the completion of absentee ballot applications;

              b. early voting information including the dates, times, and locations;

              c. the date, time, and location for the General Election, and other

                  requirements for voting including voter identification;

              d. the subject matter to be included on the General Election ballot (e.g.,

                  what offices are to be filled, bond measures, identification of the subject

                  of each ballot question);




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              e. the availability of language assistance before Election Day and on

                  Election Day, including the name of the person(s) and dates and

                  locations when it will be provided; and

              f. the dates, times, and locations for community meetings to discuss the

                  election information and the name of the person(s) to contact if voters

                  have any questions about the meetings.

       10. On or before October 3, 2014, the Division shall include in the outreach worker

          packets for the 2014 General Election in the three census areas five copies of

          a pre-election poster advertising the availability of pre-election language

          assistance in Yup’ik or Gwich’in, as applicable, with instructions that they post

          them in public locations such as the school, tribal council office, community

          store, etc.    The posters shall be translated into Yup’ik or Gwich’in, as

          applicable, and shall state the following:

              a. You can receive help voting or with any voting-related activity in your

                  Native language;

              b. The person(s) available to help you is [blank for the name(s) and

                  telephone number(s) to be filled in by the outreach worker];

              c. Help will be provided in your Native language before the election on

                  [blank for the time and date to be filled in by the outreach worker] at

                  [blank for the location to be filled in by the outreach worker];

              d. Help will be provided in your Native language during early voting, which

                  begins on October 20, 2014. Contact [blank for the name(s) and




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                  telephone number(s) to be filled in by the outreach worker] for more

                  information; and

              e. Help will be provided to you at the polling place in your Native language

                  during the General Election, which is scheduled for November 4, 2014

                  and will be held at [blank for the location to be filled in by the outreach

                  worker] from 7:00 a.m. to 8:00 p.m.

       11. On or before October 3, 2014, for each of the LEP communities in the

          applicable census areas, the Division shall include in Election Day packets

          buttons for poll workers saying “Can I help?” translated into Yup’ik or Gwich’in,

          as applicable, and Election Day posters translated into Yup’ik and Gwich’in

          announcing the availability of language assistance.

       12. The Election Day posters shall state the following, in English and also

          translated into the applicable language:

              a. You can receive help voting or with any voting-related activity in your

                  Native language;

              b. The person(s) available to help you are [blank for the names to be filled

                  in by the outreach worker]; and

              c. You also have the right to receive help voting from any person of your

                  choice.

       13. In each of the three census areas, the Division shall provide each poll worker

          with at least two copies of the Election Day poster described above, with

          instructions that the poll workers are to post them in conspicuous places inside

          the polling place where they can be seen by voters before they vote.


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       14. On or before October 10, 2014, the Division shall make available on its

           website the written Central Yup’ik translations of election materials that the

           Division already routinely posts as individual audio files on the website, as well

           as written Yup’ik translations of those same election materials that are (1) in a

           Yup’ik dialect that is understandable in the Dillingham census area; and (2) in

           a Yup’ik dialect that is understandable in the Wade-Hampton census area.

       15. On or before October 10, 2014, the Division shall send to each of the outreach

           workers in the three census areas (in addition to the audio translations of ballot

           measure neutral summaries, pro/con statements, and candidate statements)

           written translations of the following so as to assist the outreach workers in

           providing oral translations to LEP voters:

               a. Sample ballots including ballot questions;

               b. Neutral summaries of each ballot question prepared by the State;

               c. Statements of cost associated with ballot questions;

               d. Summary of bond measures;

               e. Pro and con statements for ballot questions and bond measures;

               f. Candidate statements (federal and state offices and judicial candidates);

               g. A copy of the Official Election Pamphlet; 1 and




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  To the extent the Division maintains it is unable to translate the entire Official Election Pamphlet
for the 2014 General Election, it shall make all reasonable efforts to translate as much as possible
in accordance with this Order, and shall be prepared to detail in its November 28, 2014 report to
the Court the reasons why, despite all reasonable efforts, it was unable to translate the entire
pamphlet for the General Election.


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              h. A cover letter and updated instruction packet to the outreach workers

                  that emphasizes to each outreach worker that she/he is expected to be

                  available to assist voters to understand all voting information and that

                  encourages workers to call the Division with any questions about

                  performing these tasks.

       16. On or before October 10, 2014, the Division shall provide all translations

          required by this Order to the Plaintiffs’ attorneys for their feedback, and the

          Division shall strive to incorporate any such feedback to the maximum extent

          feasible.

       17. The Division shall make a concerted effort to provide at least one local

          outreach worker and one in-person poll worker in each of the covered

          communities in the three census areas for the 2014 General Election and shall

          file a preliminary report with the Court on its efforts to do so that addresses

          each of the covered communities by October 10, 2014.

       18. The Division shall increase to no fewer than thirty the number of hours for

          which outreach workers may be paid in the 2014 General Election.

       19. On or before October 10, 2014, the Division shall update the outreach worker

          instructions and list of duties so that the workers are fully informed of their

          language assistance responsibilities, including all of the duties identified in this

          Order, such as the translation of the Official Election Pamphlet.

       20. On or before October 24, 2014, the Division shall provide a minimum of two

          teleconference training sessions of at least 30 minutes each for each outreach

          worker in the three census areas. If an outreach worker is unable to attend both


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          training sessions, then the Division shall provide one-on-one training to that

          outreach worker. The training shall be mandatory for all outreach workers and

          shall include:

              a. Instructions to provide the same information available to English-

                  speaking voters in the Official Election Pamphlet, including how to use

                  the written translations to provide complete, accurate, and uniform

                  translations in the covered language and dialect;

              b. Instructions on how to translate procedural voting materials (forms and

                  instructions); and

              c. Instructions on conducting community outreach meetings before the

                  election to discuss the ballot and voting procedures.

       21. On or before November 28, 2014, the Division shall file a comprehensive

          report to the Court detailing its compliance with this Order.


       DATED this 22nd day of September, 2014 at Anchorage, Alaska.



                                                   /s/ Sharon L. Gleason
                                                   United States District Judge




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